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15
                                  UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17

18   RUBY L. ALLEN,                             Case No. 4:21-cv-03856 KAW

19                  Plaintiff,                  JOINT STIPULATION REQUESTING TO
                                                VACATE ALL REMAINING TRIAL
20          v.                                  DATES; PROPOSED ORDER

21   THE REGENTS OF THE UNIVERSITY OF
     CALIFORNIA; PAUL LANDRY and                Complaint Filed: August 30, 2021
22   JAYCEE DEGUZMAN,                           Trial Date:      May 6, 2024
                                                Judge:           Hon. Kandis A. Westmore
23                  Defendants.

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                                                                  Case No. 4:21-cv-03856 KAW
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 1                                              JOINT STIPULATION
 2          IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff RUBY
 3   ALLEN (“Plaintiff”) and Defendant THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
 4   (“Defendant”) (collectively, “Parties”) by and through their respective counsel of record, as
 5   follows:
 6          WHEREAS, trial in this action is currently scheduled to begin May 6, 2024;
 7          WHEREAS, on February 26, 2024 the Parties engaged in a Mandatory Settlement
 8   Conference with Judge Lisa Cisneros and reached an agreement to settle this entire action
 9   (although the parties still need to finalize and execute the long form settlement agreement);
10          WHEREAS, there are a series of other upcoming deadlines including a Joint Pre-Trial
11   Conference Statement and Motions in Limine due on March 26, 2024, and a Final Pre-Trial Status
12   Conference on April 25, 2024;
13          WHEREAS, to avoid unnecessary burdens on the court and the litigants and to promote the
14   rational and efficient allocation of judicial and party resources, the Parties believe the current trial
15   date of May 6, 2024 should be vacated, along with all other trial-related dates;
16          NOW, THEREFORE, it is hereby stipulated by the Parties, through their respective
17   counsel of records, that the current trial date of May 6, 2024 and all other pending trial-related
18   dates (including the Joint Pre-Trial Conference Statement and Motions in Limine due on March 26,
19   2024, and a Final Pre-Trial Status Conference on April 25, 2024) should be vacated pending the
20   finalization of the settlement papers.
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                                               1                   Case No. 4:21-cv-03856 KAW
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 1
     DATED: March 20, 2024                     OGLETREE, DEAKINS, NASH, SMOAK &
 2                                             STEWART, P.C.

 3

 4
                                               By:
 5                                                   CARA F. BARRICK
                                                     SHANNON R. CLAWSON
 6                                                   KRISTIN C. CHRISTENSEN
                                                     Attorneys for Defendants
 7                                                   THE REGENTS OF THE UNIVERSITY OF
                                                     CALIFORNIA; PAUL LANDRY and
 8                                                   JAYCEE DEGUZMAN
 9
10   DATED: March 20, 2024                     STEVEN WILLIAMS LAW P.C.

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12
                                               By:
13                                                   STEVEN N. WILLIAMS
                                                     KAI’REE K. HOWARD
14                                                   Attorneys for Plaintiff
                                                     RUBY L. ALLEN
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                                              2                   Case No. 4:21-cv-03856 KAW
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 1                                        [PROPOSED] ORDER
 2          For good cause shown and pursuant to the terms of the Parties’ Joint Stipulation to Vacate
 3   Trial Date and Other Related Deadlines Pending Settlement, the Court hereby vacates the trial date
 4   of May 6, 2024 in this action, the Final Pre-Trial Status Conference on April 25, 2024, and all other
 5   pending trial-related dates.
 6          IT IS SO ORDERED.
 7   DATED:
                                                      The Hon. Kandis A. Westmore
 8                                                    United States District Court Judge
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                                              3                   Case No. 4:21-cv-03856 KAW
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 1                                     SIGNATURE ATTESTATION
 2          Pursuant to Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this

 3   document has been obtained from the other signatories.

 4

 5   DATED: March 20, 2024                             OGLETREE, DEAKINS, NASH, SMOAK &
                                                       STEWART, P.C.
 6

 7

 8                                                     By:
                                                             CARA F. BARRICK
 9                                                           SHANNON R. CLAWSON
                                                             KRISTIN C. CHRISTENSEN
10                                                           Attorneys for Defendants
                                                             THE REGENTS OF THE UNIVERSITY OF
11                                                           CALIFORNIA; PAUL LANDRY and
                                                             JAYCEE DEGUZMAN
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                                              4                   Case No. 4:21-cv-03856 KAW
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 1                                    CERTIFICATE OF SERVICE
                         Ruby L. Allen v. The Regents of the University of California
 2                       United States District Court, Northern District of California
 3                                     Case No. 4:21-cv-03856 KAW

 4           I am and was at all times herein mentioned over the age of 18 years and not a party to the
     action in which this service is made. At all times herein mentioned I have been employed in the
 5   County of Orange in the office of a member of the bar of this court at whose direction the service
     was made. My business address is 695 Town Center Drive, Fifteenth Floor, Costa Mesa, CA
 6   92626.
 7           On March 20, 2024, the following document(s) were served: JOINT STIPULATION
 8   REQUESTING TO VACATE ALL REMAINING TRIAL DATES; PROPOSED ORDER on
     the parties below in the method indicated.
 9
     Steven N. Williams                                 Attorneys for Plaintiff
10   Kai’Rae Howard                                     Ruby L. Allen
     JOSEPH SEVERI LAW FIRM
11   201 Spear Street, Suite 1100
12   San Francisco, CA 94105
     Tel:     415-697-1509
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15   dvandemortel@saverilawfirm.com
16   jday@saverilawfirm.com
     rponce@saverilawfirm.com
17   yspruitt@aol.com

18
             BY NOTICE OF ELECTRONIC FILING: The above-listed counsel has consented to
19   electronic service and have been automatically served by the Notice of Electronic Filing
     automatically generated by CM/ECF at the time said document was filed and which constitutes
20   service pursuant to FRCP 5(b)(2)(D).
21          I declare under penalty of perjury under the laws of the United States of America that the
     above is true and correct.
22
            Executed on March 20, 2024 at Costa Mesa, California.
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                                              5                   Case No. 4:21-cv-03856 KAW
      JOINT STIPULATION REQUESTING TO VACATE ALL REMAINING TRIAL DATES; PROPOSED ORDER
